     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1791 Page 1 of 33




 1 Vanessa R. Waldref
 2 United States Attorney
   Brian M. Donovan
 3 John T. Drake
 4 Assistant United States Attorneys
   Post Office Box 1494
 5 Spokane, WA 99210-1494
 6 Telephone: (509) 353-2767
 7
 8                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 9
10   JEREMY OLSEN,
                                                    No. 2:21-cv-00326-SMJ
11                                Plaintiff,
12                     vs.
                                                    SECOND AMENDED ANSWER
13   XAVIER BECERRA, in his official
14   capacity as Secretary of the United States
     Department of Health and Human
15   Services,
16
                                 Defendant.
17
18         The Defendant, Xavier Becerra, Secretary of Health and Human Services

19 (“Defendant”), through counsel, respectfully files this Second Amended Answer to
20
   Plaintiff’s Complaint, ECF No. 1. The Secretary notes that, pursuant to 42 U.S.C.
21
22 § 1395ff(b)(1)(A), the Court’s review in this action is based solely on the
23 administrative record, rather than the allegations of the parties in their respective
24
   pleadings.
25
26 //
27 //
28
     SECOND AMENDED ANSWER - 1
         Case 2:21-cv-00326-TOR    ECF No. 41   filed 05/11/22   PageID.1792 Page 2 of 33




                                  PREFATORY STATEMENT
 1
 2            “It is often better to acknowledge an obvious mistake than defend it.” Gate
 3
     Guard Servs., L.P. v. Perez, 792 F.3d 554, 555 (5th Cir. 2015). There are two claims
 4
     for Medicare reimbursement at issue in this case. The first is for a 90-day supply of
 5
 6 continuous glucose monitor (“CGM”) sensors with a date of service of April 19 – July
 7
     18, 2019 (the “April 2019 claim”). The second is for a 90-day supply of CGM
 8
 9 sensors with a date of service of March 10, 2021 (the “March 2021 claim”).
10 Defendant concedes that the Secretary erred in denying coverage for both claims.
11
     First and foremost, Plaintiff was entitled to have these claims covered based on res
12
13 judicata after judgment was entered in his favor in Olsen v. Becerra, Case No. 20-cv-
14 00374-SMJ (“Olsen I”), consistent with the Secretary’s practice of paying such claims
15
     for beneficiaries who receive court judgments in their favor. 1 Additionally, the
16
17 Secretary’s recently-issued Durable Medical Equipment (“DME”) final rule makes
18 clear that claims submitted for CGM sensors and transmitters used with insulin
19
     pumps, like the Medtronic MiniMed device that Plaintiff uses, were “being denied
20
21 inappropriately based on” CMS Ruling 1682-R (Jan. 12, 2017), see 86 Fed. Reg.
22 73,860, 73,898 (Dec. 28, 2021), and that error also occurred here. 2
23
24   See Decl. of Larry D. Young ¶¶ 3–5, ECF No. 32-1, Lewis v. Becerra, No. 18-CV-
     1


25 02929 (July 12, 2019) (explaining that the claims of beneficiaries who have won court
   judgments are treated differently than ordinary claims).
26
27 The December 2021 Final Rule explained that CMS Ruling 1682-R “only addressed
   2


   the classification of CGM receivers as DME and did not address coverage of CGM
28 sensors and transmitters used with insulin pumps.” 86 Fed. Reg. at 73,898. Further,
     SECOND AMENDED ANSWER - 2
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1793 Page 3 of 33




            Defendant is diligently investigating why the Secretary denied coverage for
 1
 2 these claims after the Olsen I judgment was entered.3 From the information available
 3
     to date, it appears that two independent errors were made. First, the Secretary did not
 4
     promptly inform its Medicare Administrative Contractor (“MAC”) of the Olsen I
 5
 6 judgment after it was entered. Second, it appears that the Secretary neglected to
 7
     advise the entities responsible for deciding Plaintiff’s administrative appeals of the
 8
 9 Olsen I judgment and to instruct those entities to resolve the appeals in Plaintiff’s
10 favor.
11
            What is known for certain, however, is that the April 2019 and March 2021
12
13 claims were paid by the MAC, at the Secretary’s direction and in response to the
14 Olsen I judgment, on July 15, 2021. As of that date, Plaintiff had the coverage to
15
     which he was entitled, and his administrative appeals should have been dismissed.
16
17          Consistent with the admissions herein, Plaintiff is entitled to an administrative

18 remand to the Secretary with instructions to vacate: (1) the October 22, 2021 decision
19
20
21 the Final Rule explains that the Secretary “now believe[s] that … glucose sensors and
22 transmitters used with insulin pumps … are primarily and customarily used to serve a
   medical purpose.” Id. at 73,899.
23
   3
     Defendant previously stated that these claims were erroneously denied because the
24 Secretary’s Medicare Administrative Contractor failed to make a manual adjustment
25 to the submission code assigned to the claims. ECF No. 4 at ¶ 3; ECF No. 16 at ¶ 3.
   Defendant has since determined, through further investigation, that that statement was
26 not accurate. The Secretary did erroneously deny one reimbursement claim for CGM
27 sensors on that basis (for date of service October 13, 2021), but that claim is not one
   of the two at issue in this lawsuit.
28
     SECOND AMENDED ANSWER - 3
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1794 Page 4 of 33




     by the Medicare Appeals Council purporting to deny coverage for the April 2019
 1
 2 claim; and (2) the October 26, 2021 decision by an ALJ purporting to deny coverage
 3
     for the March 2021 claim.4 Plaintiff is entitled to an award of costs and attorney’s
 4
     fees under the Equal Access to Justice Act. Judgment should be entered in Plaintiff’s
 5
 6 favor to that effect.
 7
                                   I.      INTRODUCTION
 8
 9         1.     This paragraph consists of Plaintiff’s legal conclusions and

10 characterization of this lawsuit, to which no response is required.
11
           2.     Defendant admits that Plaintiff previously filed a lawsuit with respect to
12
13 coverage of CGM claims in Olsen I. Defendant further admits that Plaintiff obtained a
14 judgment ordering coverage of his CGM claims in Olsen I, and that attorney’s fees
15
     were awarded to Plaintiff at market rates. The remainder of this paragraph consists of
16
17 Plaintiff’s legal conclusions and characterization of this lawsuit, to which no response
18 is required. The Court is respectfully referred to its prior decision for an accurate and
19
     complete statement of its contents.
20
21         3.     Defendant admits that he erroneously rejected Plaintiff’s CGM claims

22
23   4
       Defendant recently completed notice and comment rulemaking that culminated in
     the publication of a final rule that confirms that disposable sensors that work with
24   plaintiff’s insulin pump are covered “durable medical equipment” under Medicare
25   Part B. See 86 Fed. Reg. 73860, 73896-902, (Dec. 28, 2021), available here. Further,
     the new rule replaced CMS Ruling 1682-R on a prospective basis, and Medicare now
26   covers all CGMs and their supplies. That new rule, which took effect on February 28,
27   2022, effectively ensures that future CGM claims submitted by Plaintiff and other
     similarly-situated Medicare claimants will be covered.
28
     SECOND AMENDED ANSWER - 4
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1795 Page 5 of 33




     after entry of the Court’s decision in Olsen I. Defendant denies that he acted in bad
 1
 2 faith. Defendant affirmatively avers that both claims were paid in response to the
 3
     Olsen I judgment on July 15, 2021, as reflected in Paragraphs 64 and 70 below. The
 4
     remainder of this paragraph consists of Plaintiff’s legal conclusions and
 5
 6 characterization of this lawsuit, to which no response is required.
 7
           4.     Defendant admits that he erroneously denied coverage for Plaintiff’s
 8
 9 CGM claims, after judgment was entered in Plaintiff’s favor in Olsen I. Defendant
10 affirmatively avers that both claims were paid on July 15, 2021, as reflected in
11
     Paragraphs 64 and 70 below. Defendant denies the remainder of the allegations in this
12
13 paragraph.
14         5.     Defendant admits that he erroneously denied coverage for Plaintiff’s
15
     CGM claims, after judgment was entered in Plaintiff’s favor in Olsen I. Defendant
16
17 affirmatively avers that both claims were paid on July 15, 2021, as reflected in
18 Paragraphs 64 and 70 below. Defendant denies the remainder of the allegations in this
19
     paragraph.
20
21         6.     This paragraph consists of Plaintiff’s characterization of this lawsuit and

22 his claims for relief, to which no response is required. To the extent a response is
23
   required, Defendant admits that he erroneously denied coverage for Plaintiff’s CGM
24
25 claims, after judgment was entered in Plaintiff’s favor in Olsen I. Defendant
26 affirmatively avers that both claims were paid on July 15, 2021, as reflected in
27
   Paragraphs 64 and 70 below. Defendant denies that the denial of those CGM claims
28
     SECOND AMENDED ANSWER - 5
     Case 2:21-cv-00326-TOR      ECF No. 41      filed 05/11/22   PageID.1796 Page 6 of 33




     was a result of bad faith as opposed to mistake. Defendant admits Plaintiff is entitled
 1
 2 to have his CGM claims covered, and Defendant has, in fact, paid all of Plaintiff’s
 3
     submitted claims mentioned in the Complaint; those claims have been paid as
 4
     delineated in Paragraph 76 herein. Defendant denies Plaintiff is entitled to any other
 5
 6 requested relief.
 7
                                    II.      JURISDICTION
 8
 9         7.     This paragraph consists of Plaintiff’s legal conclusions regarding subject-

10 matter jurisdiction, to which no response is required.
11
           8.     This paragraph consists of Plaintiff’s legal conclusions regarding subject-
12
13 matter jurisdiction, to which no response is required.
                                                          5


14         9.     This paragraph consists of Plaintiff’s legal conclusions regarding venue,
15
     to which no response is required.
16
17                                        III.   PARTIES

18         10.    Admitted.
19
           11.    Admitted.
20
21                            IV.   FACTUAL BACKGROUND

22         12.    Defendant admits that Plaintiff previously filed a lawsuit with respect to
23
     claim for CGM coverage in Olsen I which contained Plaintiff’s information and
24
25
26  Plaintiff failed to exhaust his administrative remedies as to the March 2021 claim.
     5

27 Defendant is voluntarily waiving this defense in the interest of bringing this case to a
   swift and fair conclusion.
28
     SECOND AMENDED ANSWER - 6
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1797 Page 7 of 33




     allegations regarding diabetes and Plaintiff’s characterization of the Medicare appeals
 1
 2 process.
 3
     A.    Durable Medical Equipment
 4
           13.    Defendant admits that 42 U.S.C. § 1395x(n) defines “durable medical
 5
 6 equipment.” The remainder of this paragraph consists of Plaintiff’s legal
 7
     characterization of Medicare coverage for “durable medical equipment” under 42
 8
 9 U.S.C. § 1395x(n), to which no response is required. The Court is respectfully referred
10 to the cited statutory provision for an accurate and complete statement of its contents.
11
           14.    Defendant admits that 42 U.S.C. § 1395x(n) includes “blood glucose
12
13 monitor” as an example of “durable medical equipment.” The Court is respectfully
14 referred to the cited statutory provision for an accurate and complete statement of its
15
     contents.
16
17         15.    Defendant admits that the Secretary has issued regulations found at 42

18 C.F.R. § 414.202 relating to “durable medical equipment.” The remainder of this
19
     paragraph consists of Plaintiff’s characterization the Secretary’s regulations, to which
20
21 no response is required. The Court is respectfully referred to the cited regulation for
22 an accurate and complete statement of its contents.
23
         16. Admitted that 42 C.F.R. § 414.202 contains the cited language, except
24
25 with respect to paragraph 16(b) of the Complaint, which is missing words from the
26 corresponding paragraph of 42 C.F.R. § 414.202. The complete second paragraph of
27
   the definition of durable medical equipment in 42 C.F.R. § 414.202 states: “Effective
28
     SECOND AMENDED ANSWER - 7
     Case 2:21-cv-00326-TOR     ECF No. 41    filed 05/11/22   PageID.1798 Page 8 of 33




     with respect to items classified as DME after January 1, 2012, has an expected life of
 1
 2 at least 3 years.” Defendant denies that this paragraph contains the full definition of
 3
     “durable medical equipment” that is contained in 42 C.F.R. § 414.202; the regulation
 4
     also specifies that durable medical equipment must be “furnished by a supplier or a
 5
 6 home health agency.” The Court is respectfully referred to the cited regulation for an
 7
     accurate and complete statement of its contents.
 8
 9 B.      CMS-1682-R

10         17.   This paragraph consists of a block quotation of a statutory provision.
11
     Defendant admits 42 U.S.C. § 1395hh(a)(2) contains the quoted language without the
12
13 added emphasis. The Court is respectfully referred to the cited statutory provision for
14 an accurate and complete statement of its contents.
15
           18.   Defendant admits that 42 U.S.C. § 1395hh is applicable to the Secretary’s
16
17 “[a]uthority to prescribe regulations; ineffectiveness of substantive rules not
18 promulgated by regulation[.]” The remainder of this paragraph consists of Plaintiff’s
19
     characterizations and legal conclusions regarding the statutory provision, to which no
20
21 response is required. The Court is respectfully referred to the cited statutory provision
22 for an accurate and complete statement of its contents.
23
          19. Defendant admits that CMS Ruling 1682-R was issued on January 12,
24
25 2017. The phrase “final opinions and orders” appears in the prefatory statement of all
26 CMS Rulings. Denied that the phrase “final opinion and order” appears in the
27
   substantive body of CMS Ruling 1682-R. Plaintiffs’ characterizations of CMS Ruling
28
     SECOND AMENDED ANSWER - 8
     Case 2:21-cv-00326-TOR      ECF No. 41   filed 05/11/22   PageID.1799 Page 9 of 33




     1682-R are denied, except to admit that CMS Ruling 1682-R was not subject to notice
 1
 2 and comment. The Court is respectfully referred to the cited CMS Ruling.
 3
            20.    Admitted that CMS Ruling 1682-R was issued on January 12, 2017, and
 4
     that the phrase “binding on all CMS components, on all Department of Health and
 5
 6 Human Services components that adjudicate matters under the jurisdiction of CMS,
 7
     and on the Social Security Administration” appears in CMS Ruling 1682-R, at page 1.
 8
 9 The Court is respectfully referred to the cited CMS Ruling for an accurate and
10 complete statement of its contents.
11
            21.    This paragraph contains Plaintiff’s characterizations of CMS Ruling
12
13 1682-R. The Court is respectfully referred to the cited CMS Ruling for an accurate
14 and complete statement of its contents.
15
            22.    Admitted that CMS Ruling 1682-R contains the quoted language.
16
17 Plaintiff’s characterizations of CMS Ruling 1682-R are denied. The Court is
18 respectfully referred to the cited CMS Ruling for an accurate and complete statement
19
     of its contents.
20
21          23.    Plaintiff’s characterizations of CMS Ruling 1682-R are denied. The

22 Court is respectfully referred to the cited CMS Ruling for an accurate and complete
23
   statement of its contents.
24
25       24. Admitted that the Secretary denied coverage of certain continuous

26 glucose monitors on the grounds that they were not “primarily and customarily used to
27
   serve a medical purpose” within the meaning of the Medicare regulations. The
28
     SECOND AMENDED ANSWER - 9
     Case 2:21-cv-00326-TOR      ECF No. 41     filed 05/11/22   PageID.1800 Page 10 of 33




     Secretary otherwise lacks sufficient knowledge or information to form a belief about
 1
 2 the truth of these factual allegations. Pursuant to 42 U.S.C. § 1395ff(b)(1)(A), the
 3
     Court’s review in this action is based solely on the administrative record, rather than
 4
     the allegations of the parties in their respective pleadings; Defendant thus respectfully
 5
 6 refers the Court to the administrative record for an accurate and complete statement of
 7
     its contents. To the extent that these factual allegations are not reflected in the
 8
 9 administrative record, they are beyond the scope of the Court’s review in this case.
10         25.    Denied.
11
           26.    Admitted that Local Coverage Determination L33822 was revised in
12
13 January 2017 to account for CMS Ruling 1682-R., and that this revision was not
14 preceded by a public comment period. The Court is respectfully referred to Local
15
     Coverage Determination L33822 for an accurate and complete statement of its
16
17 contents.
18         27.    Admitted that Policy Article A52464 was revised on January 12, 2017, to
19
     account for CMS Ruling 1682-R, and that this revision was not preceded by notice
20
21 and an opportunity to comment. The Court is respectfully referred to Policy Article
22 A52464 for an accurate and complete statement of its contents.
23
         28.    This paragraph consists of Plaintiff’s characterization and legal
24
25 conclusions regarding CMS Ruling 1682-R, to which no response is required, but to
26 the extent a response is deemed required, denied. The Court is respectfully referred to
27
   CMS Ruling 1682-R for an accurate and compete statement of its contents.
28
     SECOND AMENDED ANSWER - 10
     Case 2:21-cv-00326-TOR     ECF No. 41   filed 05/11/22   PageID.1801 Page 11 of 33




           29.   Admitted.
 1
 2         30.   Admitted.
 3
           31.   This paragraph consists of Plaintiff’s characterizations and legal
 4
     conclusions regarding the treatment of continuous glucose monitors under Medicare
 5
 6 Part B, to which no response is required. To the extent a response is deemed required,
 7
     the Secretary lacks sufficient knowledge or information to form a belief about the
 8
 9 truth of this statement.
10 C.      Other Litigation Related to CGMs
11
           32.   Denied as to the phrase “in general.” Admitted that the Secretary denied
12
13 coverage of certain continuous glucose monitors on the grounds that they were not
14 “primarily and customarily used to serve a medical purpose” within the meaning of
15
     the Medicare Part B regulations. Defendant denied coverage for non-therapeutic (i.e.,
16
17 “adjunctive”) CGMs under the authority of CMS Ruling 1682-R; therapeutic (i.e.,
18 “non-adjunctive”) CGMs were classified as “durable medical equipment” under CMS
19
     Ruling 1682-R, and have thus been covered. Denied to the extent the paragraph
20
21 suggests that the Secretary currently “contends” that CGMs are not primarily and
22 customarily used to serve a medical purpose.
23
         33. Admitted that the Secretary previously adhered to the view that some
24
25 continuous glucose monitors are not covered as durable medical equipment. Denied to
26 the extent the statement suggests that the Secretary currently “contends” that a CGM
27
   is excluded from coverage as precautionary. The second sentence in this paragraph
28
     SECOND AMENDED ANSWER - 11
     Case 2:21-cv-00326-TOR     ECF No. 41    filed 05/11/22   PageID.1802 Page 12 of 33




     consists of Plaintiff’s characterizations and legal conclusions regarding Local
 1
 2 Coverage Article A52464, which are denied. The Court is respectfully referred to
 3
     Local Coverage Article A52464 for an accurate and complete statement of its
 4
     contents.
 5
 6         34.    Admitted that several district courts have reviewed Medicare Part B
 7
     coverage determinations for continuous glucose monitors, including this Court in
 8
 9 Olsen I.
10         35.    Admitted that some administrative law judges have concluded that
11
     certain continuous glucose monitors are covered as durable medical equipment under
12
13 the Medicare statute and regulations. The remainder of this paragraph consists of
14 Plaintiff’s characterizations and legal conclusions regarding decisions by Medicare
15
     Administrative Law Judges, to which no response is required. The Court is
16
17 respectfully referred to the cited decisions for accurate and complete statements of
18 their contents.
19
           36.    Admitted that several district courts have reviewed Medicare Part B
20
21 coverage determinations for continuous glucose monitors, including this Court in
22 Olsen I. Admitted that certain district courts have concluded that continuous glucose
23
   monitors are covered as durable medical equipment under the Medicare Part B statute
24
25 and regulations.
26         37.    Admitted that certain district courts have concluded that continuous
27
     glucose monitors are covered as durable medical equipment under the Medicare Part
28
     SECOND AMENDED ANSWER - 12
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1803 Page 13 of 33




     B statute and regulations and ordered the Secretary to provide coverage. The
 1
 2 remainder of this paragraph consists of Plaintiff’s characterizations and legal
 3
     conclusions regarding several district court decisions, to which no response is
 4
     required. The Court is respectfully referred to the cited decisions for an accurate and
 5
 6 complete statement of their contents.
 7
           38.    Defendant admits the cited decision contains the quoted language. The
 8
 9 remainder of this paragraph consists of Plaintiff’s characterizations and legal
10 conclusions regarding the district court’s decision in Whitcomb v. Azar, to which no
11
     response is required. The Court is respectfully referred to that decision for an accurate
12
13 and complete statement of its contents.
14         39.    Defendant admits the four cited decisions contain the quoted language
15
     and the plaintiffs in those actions were awarded attorney’s fees. The remainder of this
16
17 paragraph consists of Plaintiff’s characterizations and legal conclusions regarding
18 several district court decisions, to which no response is required. The Court is
19
     respectfully referred the cited decisions for an accurate and complete statement of
20
21 their contents.
22         40.    The Secretary denies the characterization of the cited administrative
23
     decision, which speaks for itself. The Court is respectfully referred to the cited
24
25 decision for a full and complete statement of its contents.
26 D.      Facts Specific to Mr. Olsen
27
           41.    Admitted.
28
     SECOND AMENDED ANSWER - 13
     Case 2:21-cv-00326-TOR     ECF No. 41    filed 05/11/22   PageID.1804 Page 14 of 33




           42.   Admitted.
 1
 2         43.   Admitted.
 3
           44.   Admitted.
 4
           45.   Admitted.
 5
 6         46.   Admitted.
 7
           47.   Admitted.
 8
 9         48.   Admitted.

10         49.   Admitted.
11
     E.    Prior Litigation Before This Court
12
13         50.   Admitted.

14         51.   Admitted.
15
           52.   Admitted.
16
17         53.   Admitted.

18         54.   Admitted.
19
           55.   Defendant admits this Court granted judgment in Plaintiff’s favor in
20
21 Olsen I (ECF No. 39). Defendant admits the cited decision contains the quoted
22 language and that this Court concluded that Plaintiff’s CGM is covered as durable
23
   medical equipment under the Medicare Part B statute and regulations. The Court is
24
25 respectfully referred to its prior decision for an accurate and complete statement of its
26 contents.
27
         56.     Admitted this Court’s decision in Olsen I did not address the issuance of
28
     SECOND AMENDED ANSWER - 14
     Case 2:21-cv-00326-TOR        ECF No. 41   filed 05/11/22   PageID.1805 Page 15 of 33




     CMS 1682-R. Defendant denies Plaintiff’s characterizations of the issuance of CMS
 1
 2 1682-R. The Court is respectfully referred to its prior decision for an accurate and
 3
     complete statement of its contents.
 4
           57.    Admitted.
 5
 6         58.    Defendant admits the allegations in Paragraph 58, with the caveat that the
 7
     Court’s ruling was specific to the facts presented in Olsen I.
 8
 9         59.    Defendant denies the characterizations of the Court’s attorney fee ruling

10 in Olsen I (ECF No. 50), which speaks for itself. The Court is respectfully referred to
11
     its prior decision for an accurate and complete statement of its contents.
12
13         60.    Admitted.

14                            V.     The Claims at Issue in this Case
15
           61.    Defendant admits that he erroneously denied coverage for Plaintiff’s
16
17 CGM claims during the administrative appeals process, after judgment was entered in
18 Plaintiff’s favor in Olsen I. Defendant affirmatively avers that both claims were paid
19
     on July 15, 2021, during the pendency of the administrative appeals process, as
20
21 reflected in Paragraphs 64 and 70 below. Defendant denies the remainder of the
22 allegations in this paragraph.
23
          62. Defendant admits that he erroneously denied coverage for Plaintiff’s
24
25 CGM claims during the administrative appeals process, after judgment was entered in
26 Plaintiff’s favor in Olsen I. Defendant affirmatively avers that both claims were paid
27
   on July 15, 2021, during the pendency of the administrative appeals process, as
28
     SECOND AMENDED ANSWER - 15
     Case 2:21-cv-00326-TOR    ECF No. 41   filed 05/11/22   PageID.1806 Page 16 of 33




     reflected in Paragraphs 64 and 70 below. Defendant denies the remainder of the
 1
 2 allegations in this paragraph.
 3
     A.    April 19 – July 18, 2019 Claim –
 4         ALJ Appeal No. 3-8946502107/M-20-1269
 5
           63.   Admitted.
 6
           64.   Defendant admits that the April 2019 claim was: denied initially by the
 7
 8 Secretary’s Medicare Administrative Contractor, Noridian Healthcare Solutions
 9
     (“Noridian”), on June 14, 2019; denied on redetermination by Noridian on July 25,
10
11 2019; denied on reconsideration by the Secretary’s Qualified Independent Contractor,
12 Maximus Federal, on November 26, 2019; and denied by an administrative law judge
13
     (“ALJ”) on January 31, 2020. Defendant further admits that the basis for each of
14
15 these denials was CMS Ruling 1682-R, which stated that Medicare would not cover
16 CGMs approved by the Food and Drug Administration for “use as adjunctive devices
17
     to complement, not replace, information obtained from blood glucose monitors”
18
19 because Medicare did not consider such “adjunctive” or “non-therapeutic” devices to
20 serve the medical purpose of making diabetes treatment decisions; Plaintiff
21
   characterizes this as “the ‘bad faith’ grounds.” Defendant affirmatively avers that
22
23 these denials occurred prior to the judgment and bad faith ruling in Olsen I, which
24 were entered on February 23, 2021, and April 20, 2021, respectively. On that basis, to
25
   the extent Plaintiff has alleged that Defendant denied this claim in defiance of the
26
27 Olsen I judgment and bad faith ruling, Defendant denies the allegation. Defendant
28
     SECOND AMENDED ANSWER - 16
     Case 2:21-cv-00326-TOR     ECF No. 41    filed 05/11/22   PageID.1807 Page 17 of 33




     affirmatively avers that this claim was paid by Noridian on July 15, 2021, at the
 1
 2 Secretary’s direction, in response to the Olsen I judgment and bad faith ruling. Below
 3
     is a timeline of when this claim was paid in relation to the decisions referenced above:
 4
 5                    April 19 - July 18, 2019 Claim             Date
                      Initial Denial by Noridian (MAC)           6/14/2019
 6
                      Redetermination Request (MAC)              7/5/2019
 7                    Redetermination Decision (MAC)             7/25/2019
 8                    Reconsideration Request (QIC)              10/7/2019
                      Reconsideration Decision (QIC)             11/26/2019
 9
                      ALJ Hearing Request                        12/3/2019
10                    ALJ Hearing                                1/8/2020
11                    ALJ Decision                               1/31/2020
12                    Appeal to Medicare Appeals Council         2/11/2020
                      Olsen I Judgment                           2/23/2021
13
                      Olsen I Bad Faith Ruling                   4/20/2021
14                    CLAIM PAID                                 7/15/2021
15                    Medicare Appeals Council Decision          10/22/2021
16
17         65.    Admitted.
18
           66.    Defendant admits that the Medicare Appeals Council issued a decision
19
20 dated October 22, 2021, denying coverage for the April 2019 claim. Defendant
21 admits that the basis for this denial was CMS Ruling 1682-R, which Plaintiff
22
   characterizes as “the ‘bad faith’ grounds.” Defendant denies that the Medicare
23
24 Appeals Council’s October 22, 2021, decision had the legal effect of “denying”
25 Plaintiff’s April 2019 claim as alleged in Paragraph 66 of Plaintiff’s complaint,
26
   because the Secretary had paid the claim 3 months earlier in response to the Olsen I
27
28 judgment and bad faith ruling. On information and belief, Defendant affirmatively
     SECOND AMENDED ANSWER - 17
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1808 Page 18 of 33




     avers that the Medicare Appeals Council was not aware of the Olsen I judgment and
 1
 2 bad faith ruling, or the fact that this claim had already been paid at the Secretary’s
 3
     direction in response to the same, when it issued its decision. On that basis, to the
 4
     extent Plaintiff has alleged that Defendant denied this claim in deliberate defiance of
 5
 6 the Olsen I judgment and bad faith ruling, Defendant denies the allegation.
 7
     B.    March 10, 2021 Claim – ALJ Appeal No. 3-10205345873
 8
 9         67.    Admitted.

10         68.    Admitted.
11
           69.    Defendant admits that the March 2021 claim was denied initially by
12
13 Noridian on April 16, 2021. Defendant admits that the basis for this denial was CMS
14 Ruling 1682-R and no other, which Plaintiff characterizes as “the ‘bad faith’
15
     grounds.” Defendant affirmatively avers that, as of the date this decision was issued,
16
17 the Secretary had not yet advised Noridian of the Olsen I judgment or instructed
18 Noridian to pay Plaintiff’s CGM-related claims pursuant to the judgment. On that
19
     basis, to the extent that Plaintiff has alleged that Defendant denied this claim in
20
21 deliberate defiance of the Olsen I judgment, Defendant denies the allegation.
22 Defendant concedes, however, that the Olsen I judgment should have been more
23
   promptly communicated to Noridian.
24
25      70. Defendant admits that the March 2021 claim was denied on

26 redetermination by Noridian on June 16, 2021. Defendant admits that the basis for
27
   this denial was CMS Ruling 1682-R and no other, which Plaintiff characterizes as
28
     SECOND AMENDED ANSWER - 18
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1809 Page 19 of 33




     “the ‘bad faith’ grounds.” Defendant affirmatively avers that, as of the date Noridian
 1
 2 issued its redetermination decision, the Secretary had not yet advised Noridian of the
 3
     Olsen I judgment or instructed Noridian to pay Plaintiff’s CGM-related claims
 4
     pursuant to the judgment. On that basis, to the extent that Plaintiff has alleged that
 5
 6 Defendant deliberately defied the Olsen I judgment, Defendant denies the allegation.
 7
     Defendant concedes, however, that the Olsen I judgment should have been more
 8
 9 promptly communicated to Noridian. Defendant affirmatively avers that the Secretary
10 directed Noridian to pay this claim in response to the Olsen I judgment on July 13,
11
     2021, and that Noridian paid the claim two days later, on July 15, 2021. Below is a
12
13 timeline of when this claim was paid in relation to the decisions referenced above:
14                     March 10, 2021 Claim                      Date
15                     Olsen I Judgment                          2/23/2021
                       Initial Denial by Noridian (MAC)          4/16/2021
16
                       Olsen I Bad Faith Ruling                  4/20/2021
17                     Redetermination Request (MAC)             5/3/2021
18                     Redetermination Decision (MAC)            6/16/2021
19                     Reconsideration Request (QIC)             6/30/2021
                       CLAIM PAID                                7/15/2021
20
                       Reconsideration Decision (QIC)            8/24/2021
21                     ALJ Hearing Request                       9/7/2021
22                     ALJ Hearing                               10/8/2021
23                     ALJ Decision                              10/26/2021
                       Appeal to Medicare Appeals Council        none
24
                       Medicare Appeals Council Decision         none
25
26
           71.    Admitted.
27
28         72.    Defendant admits that Plaintiff received a decision from Maximus
     SECOND AMENDED ANSWER - 19
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1810 Page 20 of 33




     Federal dated August 24, 2021, denying coverage for the March 2021 claim.
 1
 2 Defendant admits that the basis for this denial was CMS Ruling 1682-R and no other,
 3
     which Plaintiff characterizes as “the ‘bad faith’ grounds.” Defendant denies that this
 4
     decision had the legal effect of “rejecting” this claim as alleged in Paragraph 72 of
 5
 6 Plaintiff’s complaint, because the Secretary had paid the claim 1 month earlier in
 7
     response to the Olsen I judgment. On information and belief, Defendant affirmatively
 8
 9 avers that Maximus Federal was not aware of the Olsen I judgment, or the fact that
10 this claim had already been paid at the Secretary’s direction in response to the same,
11
     when it issued its decision. On that basis, to the extent that Plaintiff has alleged that
12
13 Defendant deliberately defied the Olsen I judgment, Defendant denies the allegation.
14         73.    Defendant lacks sufficient knowledge or information to admit or deny the
15
     allegations in this paragraph, and therefore denies the same.
16
17         74.    Admitted that Plaintiff sought expedited access to judicial review.

18         75.    Admitted.
19
           76.    Defendant admits that Plaintiff received an MSN dated October 1, 2021.
20
21 Defendant denies that this MSN “indicat[ed] Medicare’s intention to pay” some 13
22 CGM claims; the MSN reflects that Medicare had already paid the referenced claims.
23
   Defendant affirmatively avers that the claims referenced in this paragraph were paid
24
25 as indicated in the below chart. The remainder of this paragraph consists of Plaintiff’s
26 characterizations of the MSN, to which no response is required.
27
28
     SECOND AMENDED ANSWER - 20
     Case 2:21-cv-00326-TOR    ECF No. 41        filed 05/11/22       PageID.1811 Page 21 of 33




 1
 2               CCN           Date of Service           Paid Date              Amount Paid
 3
             18137823767001       03/15/2018             07/22/2021               $1,300.66
 4
             18172844803001       06/05/2018             07/15/2021               $1,300.66
 5
             18283843973001       09/27/2018             07/15/2021               $1,300.66

 6
             19008817632001       01/04/2019             07/15/2021               $1,300.66

 7           19112897095001       04/19/2019             07/15/2021               $1,430.72

 8           19210873889001       07/08/2019             07/15/2021               $1,430.72

 9           19296845388001       10/21/2019             07/15/2021               $1,430.72

10           20031822855001       01/28/2020             07/15/2021               $1,430.72

11           20139845927001       05/15/2020             07/15/2021               $1,459.92

12           20230855617001       08/12/2020             07/15/2021               $1,459.92

13           20330841967001       11/23/2020             07/15/2021               $1,459.92

14           21076836253001       03/10/2021             07/15/2021               $1,459.92

15           21204829122001       07/20/2021             08/03/2021               $1,459.92

16           21288839976002       10/13/2021             12/27/2021               $1,459.92

17
18         77.   Admitted.
19
           78.   Defendant admits that 42 C.F.R. § 405.352 governs adjustment of title
20
21 XVIII incorrect payments, including decreasing any payment to an individual under
22 the Social Security Act to which the individual is entitled. To the extent Plaintiff is
23
   alleging that Defendant could invoke § 405.352 to seek recoupment of the payments
24
25 that Defendant issued for the April 2019 and March 2021 clims, Defendant denies the
26 allegation. The remainder of this paragraph consists of Plaintiff’s characterizations
27
   and legal conclusions, to which no response is required. The Court is respectfully
28
     SECOND AMENDED ANSWER - 21
     Case 2:21-cv-00326-TOR      ECF No. 41   filed 05/11/22   PageID.1812 Page 22 of 33




     referred to the cited regulation.
 1
 2         1.     October 30, 2021, Decision of ALJ Jason Earnhart
 3
           79.    Admitted that Plaintiff filed a request for ALJ review on September 7,
 4
     2021. Defendant affirmatively avers that the Secretary paid the subject claim
 5
 6 approximately 7 weeks before this request was filed. The remainder of this paragraph
 7
     consists of Plaintiff’s characterization of his request for ALJ review, to which no
 8
 9 response is required.
10         80.    Admitted.
11
           81.    Defendant admits that ALJ Earnhart issued a decision denying coverage
12
13 for the March 2021 claim. Defendant affirmatively avers that this decision did not
14 have the legal effect of “denying [Plaintiff’s] claim” as alleged in Paragraph 81 of
15
     Plaintiff’s complaint, because the Secretary had paid the claim approximately 14
16
17 weeks earlier in response to the Olsen I judgment. To the extent the ALJ’s decision
18 did have the effect of “denying [Plaintiff’s] claim” as alleged, however, Defendant
19
     admits that the decision was erroneous. On information and belief, Defendant
20
21 affirmatively avers that the ALJ was not aware of the Olsen I judgment, or the fact
22 that this claim had already been paid at the Secretary’s direction in response to the
23
   same, when he issued his decision. On that basis, to the extent that Plaintiff has
24
25 alleged that Defendant deliberately defied the Olsen I judgment, Defendant denies the
26 allegation.
27
          82. Admitted.
28
     SECOND AMENDED ANSWER - 22
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1813 Page 23 of 33




           83.    Admitted.
 1
 2         84.    Admitted.
 3
           85.    Defendant admits that the ALJ’s decision denied coverage based solely
 4
     on CMS 1682-R. Defendant incorporates by reference its answer to Paragraph 81
 5
 6 above.
 7
           2.     November 2, 2021 Departmental Appeals Board Decision
 8
 9         86.    Admitted.

10         87.    Admitted that Plaintiff sought review by the Departmental Appeals
11
     Board (DAB). The remainder of this paragraph consists of Plaintiff’s characterization
12
13 of that request, to which no response is required.
14         88.    Admitted that the Departmental Appeals Board issued a decision denying
15
     Plaintiff’s request. The remainder of this paragraph consists of Plaintiff’s
16
17 characterization of that DAB decision, to which no response is required.
18         89.    Admitted that the Departmental Appeals Board issued a decision denying
19
     Plaintiff’s request. The remainder of this paragraph consists of Plaintiff’s
20
21 characterization of that DAB decision, to which no response is required.
22         90.    Admitted that the Departmental Appeals Board issued a decision denying
23
     Plaintiff’s request. The remainder of this paragraph consists of Plaintiff’s
24
25 characterization of that DAB decision, to which no response is required.
26                               VI.    CAUSES OF ACTION
27
                                            COUNT I
28
     SECOND AMENDED ANSWER - 23
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1814 Page 24 of 33




            91.    In this paragraph, Plaintiff repeats the paragraphs set forth above.
 1
 2 Defendant incorporates by reference his answers to all of the preceding paragraphs as
 3
     if fully set out herein.
 4
            92.    This paragraph consists of a request for relief, to which no response is
 5
 6 required. To the extent that a response is deemed necessary, Defendant admits that he
 7
     erroneously denied coverage for the two CGM claims at issue in this case, after
 8
 9 judgment was entered in Plaintiff’s favor in Olsen I. Defendant affirmatively avers
10 that both claims were paid on July 15, 2021, as reflected in Paragraphs 64 and 70
11
     above. Defendant consents to administrative remand of this matter with instructions to
12
13 have the Secretary vacate the challenged administrative appeal decisions in light of the
14 Secretary’s prior payment of the subject claims. Defendant further affirmatively avers
15
     that on December 28, 2021, through notice-and-comment rulemaking, the Centers for
16
17 Medicare & Medicaid Services, U.S. Department of Health and Human Services,
18 issued a final rule entitled, Medicare Program; Durable Medical Equipment,
19
     Prosthetics, Orthotics, and Supplies (DMEPOS) Policy Issues, and Level II of the
20
21 Healthcare Common Procedure Coding System (HCPCS); DME Interim Pricing in
22 the CARES Act; Durable Medical Equipment Fee Schedule Adjustments To Resume
23
   the Transitional 50/50 Blended Rates To Provide Relief in Rural Areas and Non-
24
25 Contiguous Areas, 86 Fed. Reg. 73,860, 73,860–73,911 (Dec. 28, 2021) (the “Final
26 Rule”). The Final Rule effectively replaces CMS 1682-R, which forms the basis of
27
   Plaintiff’s claims in this case, and is effective as of February 28, 2022. The recently
28
     SECOND AMENDED ANSWER - 24
     Case 2:21-cv-00326-TOR     ECF No. 41    filed 05/11/22   PageID.1815 Page 25 of 33




     issued Final Rule makes clear that “claims submitted for CGM sensors and
 1
 2 transmitters used with insulin pumps are being denied inappropriately based on CMS–
 3
     1682–R” because that “Ruling only addressed the classification of CGM receivers as
 4
     DME and did not address coverage of CGM sensors and transmitters used with insulin
 5
 6 pumps.” 86 Fed. Reg. at 73,898. Further, the Final Rule states that the Secretary “now
 7
     believe[s] that … glucose sensors and transmitters used with insulin pumps … are
 8
 9 primarily and customarily used to serve a medical purpose.” Id. at 73,899.
10         93.    This paragraph consists of a request for relief, to which no response is
11
     required. To the extent that a response is deemed necessary, Defendant refers to its
12
13 answer in response to Paragraph 92. Defendant admits that he erroneously denied
14 coverage for Plaintiff’s CGM claims, after judgment was entered in Plaintiff’s favor in
15
     Olsen I. Defendant affirmatively avers that both claims were paid on July 15, 2021, as
16
17 reflected in Paragraphs 64 and 70 above. Defendant consents to administrative remand
18 of this matter with instructions to have the Secretary vacate the challenged
19
     administrative appeal decisions in light of the Secretary’s prior payment of the subject
20
21 claims, and notes that the Final Rule effective February 28, 2022, resolves the
22 classification as DME of future CGM claims from Plaintiff and other similarly-
23
   situated CGM claimants.
24
25                                    COUNT II

26         94.    In this paragraph, Plaintiff repeats the paragraphs set forth above.
27
     Defendant incorporates by reference his answers to all of the preceding paragraphs as
28
     SECOND AMENDED ANSWER - 25
     Case 2:21-cv-00326-TOR      ECF No. 41    filed 05/11/22   PageID.1816 Page 26 of 33




     if fully set out herein.
 1
 2          95.    This paragraph consists of a request for relief, to which no response is
 3
     required. To the extent that a response is deemed necessary, Defendant refers to its
 4
     answer in response to Paragraph 92. Defendant admits that he erroneously denied
 5
 6 coverage for Plaintiff’s CGM claims, after judgment was entered in Plaintiff’s favor in
 7
     Olsen I. Defendant affirmatively avers that both claims were paid on July 15, 2021, as
 8
 9 reflected in Paragraphs 64 and 70 above. Defendant consents to administrative remand
10 of this matter with instructions to have the Secretary vacate the challenged
11
     administrative appeal decisions in light of the Secretary’s prior payment of the subject
12
13 claims, and notes that the Final Rule effective February 28, 2022, resolves the
14 classification as DME of future CGM claims from Plaintiff.
15
            96.    This paragraph consists of a request for relief, to which no response is
16
17 required. To the extent that a response is deemed necessary, Defendant refers to its
18 answer in response to Paragraph 92. Defendant admits that he erroneously denied
19
     coverage for Plaintiff’s CGM claims, after judgment was entered in Plaintiff’s favor in
20
21 Olsen I. Defendant affirmatively avers that both claims were paid on July 15, 2021, as
22 reflected in Paragraphs 64 and 70 above. Defendant consents to administrative remand
23
   of this matter with instructions to have the Secretary vacate the challenged
24
25 administrative appeal decisions in light of the Secretary’s prior payment of the subject
26 claims, and notes that the Final Rule effective February 28, 2022, resolves the
27
   classification as DME of future CGM claims from Plaintiff.
28
     SECOND AMENDED ANSWER - 26
     Case 2:21-cv-00326-TOR     ECF No. 41    filed 05/11/22   PageID.1817 Page 27 of 33




 1
 2                                         COUNT III
 3
           97.    In this paragraph, Plaintiff repeats the paragraphs set forth above.
 4
     Defendant incorporates by reference his answers to all of the preceding paragraphs as
 5
 6 if fully set out herein.
 7
           98.    This paragraph consists of a request for relief, to which no response is
 8
 9 required. To the extent that a response is deemed necessary, Defendant refers to its
10 answer in response to Paragraph 92. Defendant admits that he erroneously denied
11
     coverage for Plaintiff’s CGM claims, after judgment was entered in Plaintiff’s favor in
12
13 Olsen I. Defendant affirmatively avers that both claims were paid on July 15, 2021, as
14 reflected in Paragraphs 64 and 70 above. Defendant consents to administrative remand
15
     of this matter with instructions to have the Secretary vacate the challenged
16
17 administrative appeal decisions in light of the Secretary’s prior payment of the subject
18 claims, and notes that the Final Rule effective February 28, 2022, resolves the
19
     classification as DME of future CGM claims from Plaintiff.
20
21         99.    This paragraph consists of a request for relief, to which no response is

22 required. To the extent that a response is deemed necessary, Defendant refers to its
23
   answer in response to Paragraph 92. Defendant admits that he erroneously denied
24
25 coverage for Plaintiff’s CGM claims, after judgment was entered in Plaintiff’s favor in
26 Olsen I. Defendant affirmatively avers that both claims were paid on July 15, 2021, as
27
   reflected in Paragraphs 64 and 70 above. Defendant consents to administrative remand
28
     SECOND AMENDED ANSWER - 27
     Case 2:21-cv-00326-TOR     ECF No. 41    filed 05/11/22   PageID.1818 Page 28 of 33




     of this matter with instructions to have the Secretary vacate the challenged
 1
 2 administrative appeal decisions in light of the Secretary’s prior payment of the subject
 3
     claims, and notes that the Final Rule effective February 28, 2022, resolves the
 4
     classification as DME of future CGM claims from Plaintiff.
 5
 6                                        COUNT IV
 7
           100. In this paragraph, Plaintiff repeats the paragraphs set forth above.
 8
 9 Defendant incorporates by reference his answers to all of the preceding paragraphs as
10 if fully set out herein.
11
           101. This paragraph consists of a request for relief, to which no response is
12
13 required. To the extent that a response is deemed necessary, Defendant refers to its
14 answer in response to Paragraph 92. Defendant admits that he erroneously denied
15
     coverage for Plaintiff’s CGM claims, after judgment was entered in Plaintiff’s favor in
16
17 Olsen I. Defendant affirmatively avers that both claims were paid on July 15, 2021, as
18 reflected in Paragraphs 64 and 70 above. Defendant consents to administrative remand
19
     of this matter with instructions to have the Secretary vacate the challenged
20
21 administrative appeal decisions in light of the Secretary’s prior payment of the subject
22 claims, and notes that the Final Rule effective February 28, 2022, resolves the
23
   classification as DME of future CGM claims from Plaintiff.
24
25        102. This paragraph consists of a request for relief, to which no response is

26 required. To the extent that a response is deemed necessary, Defendant refers to its
27
   answer in response to Paragraph 92. Defendant admits that he erroneously denied
28
     SECOND AMENDED ANSWER - 28
     Case 2:21-cv-00326-TOR     ECF No. 41    filed 05/11/22   PageID.1819 Page 29 of 33




     coverage for Plaintiff’s CGM claims, after judgment was entered in Plaintiff’s favor in
 1
 2 Olsen I. Defendant affirmatively avers that both claims were paid on July 15, 2021, as
 3
     reflected in Paragraphs 64 and 70 above. Defendant consents to administrative remand
 4
     of this matter with instructions to have the Secretary vacate the challenged
 5
 6 administrative appeal decisions in light of the Secretary’s prior payment of the subject
 7
     claims, and notes that the Final Rule effective February 28, 2022, resolves the
 8
 9 classification as DME of future CGM claims from Plaintiff.
10                                         COUNT V
11
           103. In this paragraph, Plaintiff repeats the paragraphs set forth above.
12
13 Defendant incorporates by reference his answers to all of the preceding paragraphs as
14 if fully set out herein.
15
           104. This paragraph consists of a request for relief, to which no response is
16
17 required. To the extent that a response is deemed necessary, Defendant refers to its
18 answer in response to Paragraph 92. Defendant admits that he erroneously denied
19
     coverage for Plaintiff’s CGM claims, after judgment was entered in Plaintiff’s favor in
20
21 Olsen I. Defendant affirmatively avers that both claims were paid on July 15, 2021, as
22 reflected in Paragraphs 64 and 70 above. Defendant consents to administrative remand
23
   of this matter with instructions to have the Secretary vacate the challenged
24
25 administrative appeal decisions in light of the Secretary’s prior payment of the subject
26 claims, and notes that the Final Rule effective February 28, 2022, resolves the
27
   classification as DME of future CGM claims from Plaintiff.
28
     SECOND AMENDED ANSWER - 29
     Case 2:21-cv-00326-TOR     ECF No. 41    filed 05/11/22   PageID.1820 Page 30 of 33




           105. This paragraph consists of a request for relief, to which no response is
 1
 2 required. To the extent that a response is deemed necessary, Defendant refers to its
 3
     answer in response to Paragraph 92. Defendant admits that he erroneously denied
 4
     coverage for Plaintiff’s CGM claims, after judgment was entered in Plaintiff’s favor in
 5
 6 Olsen I. Defendant affirmatively avers that both claims were paid on July 15, 2021, as
 7
     reflected in Paragraphs 64 and 70 above. Defendant consents to administrative remand
 8
 9 of this matter with instructions to have the Secretary vacate the challenged
10 administrative appeal decisions in light of the Secretary’s prior payment of the subject
11
     claims, and notes that the Final Rule effective February 28, 2022, resolves the
12
13 classification as DME of future CGM claims from Plaintiff.
14                                        COUNT VI
15
           106. In this paragraph, Plaintiff repeats the paragraphs set forth above.
16
17 Defendant incorporates by reference his answers to all of the preceding paragraphs as
18 if fully set out herein.
19
           107. This paragraph consists of a legal conclusion to which no response is
20
21 required.
22         108. This paragraph consists of a legal conclusion to which no response is
23
     required.
24
25         109. Denied.

26         110. This paragraph consists of a legal conclusion to which no response is
27
     required.
28
     SECOND AMENDED ANSWER - 30
     Case 2:21-cv-00326-TOR        ECF No. 41   filed 05/11/22   PageID.1821 Page 31 of 33




           111. Denied.
 1
 2         112. Denied.
 3
                                   VII. PRAYER FOR RELIEF
 4
           The remaining paragraphs of the complaint contain Plaintiff’s requested relief,
 5
 6 to which no response is required. To the extent that a response is deemed necessary,
 7
     Defendant admits that he erroneously denied coverage for Plaintiff’s CGM claims,
 8
 9 after judgment was entered in Plaintiff’s favor in Olsen I. Defendant affirmatively
10 avers that both claims were paid on July 15, 2021, as reflected in Paragraphs 64 and
11
     70 above. Defendant consents to administrative remand of this matter with
12
13 instructions to have the Secretary vacate the challenged administrative appeal
14 decisions in light of the Secretary’s prior payment of the subject claims, and notes that
15
     the Final Rule effective February 28, 2022, resolves the classification as DME of
16
17 future CGM claims from Plaintiff. Finally, Defendant admits Plaintiff is entitled to
18 costs and reasonable attorneys’ fees in an amount to be determined by this Court.
19
     With respect to any remaining requests for relief, Defendant denies that Plaintiff is
20
21 entitled to any other relief.
22                                 AFFIRMATIVE DEFENSES
23
           1.     To the extent Plaintiff is seeking an injunction requiring Defendant to
24
25 grant coverage for CGM claims, the Court lacks jurisdiction to grant such relief.
26         2.     To the extent Plaintiff is seeking appointment of a special master to make
27
     coverage decisions on CGM claims, the Court lacks jurisdiction to grant such relief.
28
     SECOND AMENDED ANSWER - 31
     Case 2:21-cv-00326-TOR   ECF No. 41   filed 05/11/22   PageID.1822 Page 32 of 33




 1
 2        RESPECTFULLY SUBMITTED: May 11, 2022.
 3
                                               Vanessa R. Waldref
 4                                             United States Attorney
 5
                                               s/Brian M. Donovan
 6                                             s/John T. Drake
 7                                             Brian M. Donovan
                                               John T. Drake
 8                                             Assistant United States Attorneys
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     SECOND AMENDED ANSWER - 32
     Case 2:21-cv-00326-TOR     ECF No. 41   filed 05/11/22    PageID.1823 Page 33 of 33




                                CERTIFICATE OF SERVICE
 1
 2         I hereby certify that on May 11, 2022, I electronically filed the foregoing with
 3
     the Clerk of the Court using the CM/ECF system, which will send notification of such
 4
     filing to the following:
 5
 6
           Roger M. Townsend:                            rtownsend@bjtlegal.com
 7
 8         James Pistorino                               james@parrishlaw.com
 9 And to the following non CM/ECF participants:         N/A
10
11
                                                  s/ John T. Drake
12                                                Assistant United States Attorney
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     SECOND AMENDED ANSWER - 33
